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                                                     1   LISA A. RASMUSSEN, ESQ..
                                                         Nevada Bar No. 007491
                                                     2   THE LAW OFFICES OF KRISTINA WILDEVELD & ASSOCIATES
                                                     3   550 E. Charleston Blvd., Suite A
                                                         Las Vegas, NV 89104
                                                     4   Phone (702) 222-0007
                                                     5   Fax (702) 222-0001

                                                     6
                                                         Attorneys for Defendant,
                                                     7   Sylviane Whitmore
                                                    8
                                                                                UNITED STATES DISTRICT COURT
                                                     9
                                                                                        CLARK COUNTY, NEVADA
                                                    10
THE LAW OFFICE OF KRISTINA WILDEVELD & ASSOCIATES




                                                    11    THE UNITED STATES OF AMERICA, )               CASE NO.   2:17-cr-110-APG-DJA
                                                                                        )
                                                    12
                                                                    Plaintiff,          )               MOTION FOR PERMISSION TO FILE
            LAS VEGAS, NEVADA 89104
            550 E. CHARLESTON BLVD.




                                                    13                                  )                 EXHIBIT D TO SENTENCING
               PH: (702) 222-0007




                                                          vs.                           )                MEMORANDUM UNDER SEAL
                                                    14                                  )                    (MEDICAL RECORDS)
                                                    15    SYLVIANE WHITMORE,            )
                                                                                        )
                                                    16              Defendant.          )
                                                    17
                                                    18
                                                               COMES NOW, the Defendant, SYLVIANE WHITMORE, by and through her
                                                    19
                                                         counsel, Lisa A. Rasmussen, Esq. and hereby requests that this Court enter an order
                                                    20
                                                         permitting her to file Exhibit D to her Sentencing Memorandum under seal. This motion
                                                    21
                                                         is based upon the following:
                                                    22
                                                               1. Ms. Whitmore’s sentencing Memorandum is filed at ECF 462. It contains
                                                    23
                                                                   Exhibits A through H. However, the undersigned only included a place-
                                                    24
                                                                   marker for Exhibit D, which contains Ms. Whitmore’s medical records.
                                                    25
                                                               2. Medical records are protected under HIPAA, the Health Insurance Portability
                                                    26
                                                                   and Accountability Act of 1996. Not only are her medical records private, they
                                                    27
                                                                   also contain identifying information that would need to be redacted.
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                                                     1         For each of these reasons, the undersigned respectfully requests permission to file
                                                     2   the medical records and the entirety of Exhibit D under seal. The undersigned has
                                                     3   manually provided Exhibit D to counsel for the United States on today’s date. The
                                                     4   undersigned has provisionally filed the documents under seal at ECF 463.
                                                     5         A proposed order is attached hereto.
                                                     6
                                                               Respectfully submitted and dated this 22nd day of March, 2024.
                                                     7
                                                    8                               The Law Offices of Kristina Wildeveld & Associates,
                                                     9
                                                                                                           /s/ Lisa A. Rasmussen
                                                    10
                                                                                                        LISA A. RASMUSSEN, ESQ.
THE LAW OFFICE OF KRISTINA WILDEVELD & ASSOCIATES




                                                    11                                                  Nevada Bar No. 7491
                                                    12                                                  Attorneys for Sylviane Whitmore
            LAS VEGAS, NEVADA 89104
            550 E. CHARLESTON BLVD.




                                                    13
               PH: (702) 222-0007




                                                    14
                                                    15                                CERTIFICATE OF SERVICE
                                                               I HEREBY CERTIFY that I served a copy of the foregoing MOTON TO FILE
                                                    16
                                                         EXHIBIT D TO SENTENCING MEMORANDUM UNDER SEAL upon all persons
                                                    17
                                                         participating in CM/ECF on this 22nd day of March, 2024, including but not limited to:
                                                    18
                                                               Mr. Tony Lopez, AUSA
                                                    19
                                                    20         Ms. Mina Chang, AUSA
                                                                                                 Lisa A. Rasmussen
                                                    21
                                                                                           _____________________________________
                                                    22
                                                    23                                     LISA A. RASMUSSEN, ESQ.

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                                                     2
                                                     3                          UNITED STATES DISTRICT COURT
                                                     4                               CLARK COUNTY, NEVADA
                                                     5
                                                          THE UNITED STATES OF AMERICA, )               CASE NO.   2:17-cr-110-APG-DJA
                                                     6                                  )
                                                     7              Plaintiff,          )                ORDER TO SEAL EXHIBIT D TO
                                                                                        )                 WHITMORE’S SENTENCING
                                                    8     vs.                           )                     MEMORANDUM
                                                                                        )
                                                     9
                                                          SYLVIANE WHITMORE,            )
                                                    10                                  )
                                                                    Defendant.          )
THE LAW OFFICE OF KRISTINA WILDEVELD & ASSOCIATES




                                                    11
                                                    12          Upon the Motion of Ms. Whitmore to Seal Exhibit D to her Sentencing
            LAS VEGAS, NEVADA 89104
            550 E. CHARLESTON BLVD.




                                                    13   Memorandum, the documents having been provisionally filed under seal by Ms.
               PH: (702) 222-0007




                                                    14   Whitmore at ECF 463, the Court finds there exists good cause to permit the records to
                                                    15   be filed under seal as they contain Ms. Whitmore’s protected health care documents.
                                                    16          Accordingly, IT IS HEREBY ORDERED that ECF 463, Exhibit D to Sylviane
                                                    17   Whitmore’s Sentencing Memorandum, shall be filed and maintained under seal.
                                                    18          IT IS FURTHER ORDERED that the records shall remain under seal until further
                                                    19   order of this Court.
                                                    20                   March 25, 2024
                                                                Dated: ____________
                                                    21                                           _______________________________________
                                                                                                 The Honorable Andrew P. Gordon
                                                    22
                                                                                                 United States District Judge
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